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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-2021V
                                        UNPUBLISHED


    JOHN M. LEWIS,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 28, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Scott B. Taylor, Urban & Taylor, S.C., Milwaukee, WI, for Petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On December 29, 2020, John M. Lewis filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on or about
November 5, 2019. Petition at 1. Petitioner further alleges the vaccine was administered
in the United States, he suffered the effects of his condition for more than six months, and
he has never received compensation in the form of an award or settlement, or filed a civil
action, for his vaccine-related injuries. Petition at ¶¶ 2, 20, 23. The case was assigned to
the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On June 27, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “petitioner had no history of pain, inflammation or
dysfunction in his left shoulder; his pain and reduced range of motion occurred within 48
hours of receipt of an intramuscular vaccination; his symptoms were limited to the
shoulder in which the vaccine was administered; and no other condition or abnormality
was identified to explain his symptoms.” Id. at 5. Respondent further agrees that the
statutory six month sequela requirement is satisfied, the case was timely filed, and the
vaccine was received in the United States. Id. Respondent also notes that Petitioner avers
that he has not filed a civil action or received compensation in the form of an award or
civil settlement for an alleged vaccine-related injury. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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